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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             (Houston Division)

FIRST CONTINENTAL LIFE                   *
ACCIDENT INSURANCE CO.
                                         *
      Plaintiff
                                         *       CASE NO.: ___________________
v.
                                         *
SENIOR DENTAL INSURANCE
SOLUTIONS, LLC                           *

      Defendant                          *

      *      *      *      *      *      *       *    *      *      *      *

      DEFENDANT SENIOR DENTAL INSURANCE SOLUTIONS, LLC’S
                     NOTICE OF REMOVAL

      Defendant Senior Dental Insurance Solutions, LLC (“SDIS”), by and through their

counsel Jesse M. Coleman, Nicholas G. Grimmer, and Seyfarth Shaw LLP, pursuant to

28 U.S.C. §§ 1441 and 1332(a), hereby file this Notice of Removal of this action from the

240th District Court for Fort Bend County, Texas, to the United States District Court for

the Southern District of Texas, Houston Division. In support thereof, SDIS states as

follows:

      1.     SDIS is named as Defendant in the action styled as First Continental Life

Accident Insurance Co. v. Senior Dental Insurance Solutions, LLC, in the 240th District

Court for Fort Bend County, Texas, Case No. 16-DCV-233827.




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       2.      Plaintiff First Continental Life Accident Insurance, Co. (“FCL”) is a Texas

corporation that maintains a principal office at 101 Parklane Blvd., Suite 301, Sugar Land

Texas 77478.

       3.      SDIS is a Maryland limited liability company that maintains its principal

office at 210 Pier One Road, Suite 205, Stevensville, MD 21666.

       4.      SDIS is a multi-member limited liability company consisting of eight

members. Member William Whitehurst is a citizen of Maryland. Member George E.

Harris V is a citizen of Pennsylvania. Member George E. Harris IV is a citizen of

Maryland. Member R. Garland McKnight is a citizen of Pennsylvania. Member Eric C.

Thomas is a citizen of Pennsylvania.            Member Thomas Jackson is a citizen of

Pennsylvania. Member James T. Carney is a citizen of Pennsylvania. Member George

Lieb is a citizen of Florida.

       5.      There is full diversity of citizenship in this lawsuit.

       6.      Plaintiff seeks damages in excess of $75,000.00.

       7.      Pursuant to 28 U.S.C. §§ 1332 and 1441, SDIS has the right to remove this

action from the 240th District Court for Fort Bend County, Texas to the United States

District Court for the Southern District of Texas, Houston Division, based on full

diversity of citizenship and damages in excess of $75,000.00.

       8.      SDIS was served with a copy of the summons and complaint on July 14,

2016. This Notice of Removal is timely as it is filed within 30 days after SDIS was

served with notice of the action.



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       9.     Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders served upon Defendants are attached to this Notice of Removal as Exhibit A.

       10.    Pursuant to 28 U.S.C. § 1446(b), Defendants will give notice promptly

upon filing this Notice of Removal to all parties of record and to the Clerk of the District

Court for Fort Bend County, TX. A copy of this notice is attached as Exhibit B.

       WHEREFORE, please take notice that this action should proceed in the United

States District Court for the Southern District of Texas, Houston Division as an action

properly removed pursuant to 28 U.S.C. § 1441.

                                          Respectfully submitted,

                                          /s/ Jesse M. Coleman
                                          SEYFARTH SHAW, LLP

                                          Jesse M. Coleman, TX Bar No. 24072044
                                          jmcoleman@seyfarth.com
                                          Nicholas G. Grimmer, TX Bar No. 24065331
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                                          Phone: (713) 225-2300
                                          Fax: (713) 225-2340

                                          Attorneys for Defendant,
                                          Senior Dental Insurance Solutions, LLC




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                       CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of August, 2016, a copy of the
foregoing was served upon all counsel of record using the CM/ECF system:

                       Alexander C. Chae
                       Texas Bar No. 04056090
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                       Elliot Strader
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                       1601 Elm Street, Suite 3000
                       Dallas, TX 75201
                       Phone: (214) 999-3000
                       Fax: (214) 999-4388

                       Counsel for Plaintiff



                                               /s/ Jesse M. Coleman
                                               Jesse M. Coleman




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                     EXHIBIT A
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                                                                                                   Annie Rebecca Elliott
                                                                                                            District Clerk
                                                                                                Fort Bend County, Texas
                                                                                                     Layla Helton

                                   Cause No. 16-DCV-233827


FIRST CONTINENTAL LIFE                           §                      IN DISTRICT COURT OF
ACCIDENT INSURANCE CO.,                          §
                                                 §
                Plaintiff,                       §
                                                 §
v.                                               §               FORT BEND COUNTY, TEXAS
                                                 §
SENIOR DENTAL INSURANCE                          §
SOLUTIONS, LLC                                   §
                                                 §
                Defendant.                       §                    240th JUDICIAL DISTRICT

                             DEFENDANT’S ORIGINAL ANSWER

         Defendant Senior Dental Insurance Solutions, LLC (“Defendant”) files this

Original Answer to Plaintiff First Continental Life Accident Insurance Co. (“Plaintiff”)’s

Original Petition.

                                        GENERAL DENIAL

         Defendant generally denies the allegations in Plaintiff’s Original Petition and requests

that Plaintiff be required to prove the charges and allegations against Defendant by a

preponderance of the evidence as required by the Constitution and laws of the State of Texas.

                                             PRAYER

         For these reasons, Defendant asks the Court to dismiss Plaintiff’s suit, render judgment

that Plaintiff take nothing, award reasonable and necessary attorney fees to Defendant, assess

costs against Plaintiff, and award Defendant all other relief to which Defendant is entitled.




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                                        Respectfully submitted,

                                        SEYFARTH SHAW LLP

                                        By:/s/ Jesse M. Coleman
                                           Jesse M. Coleman
                                           Texas Bar No. 24072044
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                                            Attorneys for Defendant
                                            Senior Dental Insurance Solutions, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon
all counsel of record, as listed below via hand delivery, facsimile, email and/or My File Runner
using the CM/ECF system, on this the 5th day of August, 2016.

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         Counsel for Plaintiff

                                                    /s/ Nicholas G. Grimmer
                                                   Nicholas G. Grimmer




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